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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN


AUTISM SOCIETY OF MICHIGAN,

                                    Plaintiff,           Civil Action No. 5:05-CV-73

v.                                                       Hon. GORDON J. QUIST

RONALD FULLER, in his official
capacity as Superintendent, Parchment
School District, CHARLES NICHOLSON,
in his official capacity as Principal,
Parchment High School, ROBERT
CHAMPION, NANCY LENZ, LARRY
REEVES, STEVE GIBSON, DEB
SULLIVAN, ROBERTO AGUIRRE, AND
JOEL SHAFFER, in their official capacities
as members of the PARCHMENT SCHOOL
DISTRICT SCHOOL BOARD,

                                    Defendants.


Stacy A. Hickox (P54431)                                 Gary Bartosiewicz (P28934)
Michigan Protection & Advocacy Service, Inc.             Early, Lennon, Crocker & 4095
Legacy Parkway, Suite 500                                Bartosiewicz
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Counsel for Plaintiff                                    Phone: (269) 381-8844
                                                         Counsel for Defendants

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Phone: (517) 487-1755
Counsel for Plaintiff


                  PLAINTIFF’S MOTION TO COMPEL DISCOVERY

       Pursuant to Fed. R. Civ. P. 37, Plaintiff Autism Society of Michigan (“ASM”) hereby

moves this Court to compel Defendant Fuller to comply with the specific requests for documents
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and interrogatories as detailed in Plaintiff’s First Request for Production and Inspection of

Documents and Plaintiff’s First Set of Interrogatories to Defendant Fuller, served on June 20,

2005.

        Plaintiff seeks immediate production of documents and answers to interrogatories served

to Defendant Fuller. Counsel for Plaintiff has attempted to negotiate in good faith with

Defendants’ counsel in order to obtain documents and responses to interrogatories. Counsel has

been unable to resolve this dispute and there respectfully petitions this Court for an Order

requiring compliance. This Motion is based on the grounds set forth in the attached supporting

memorandum.

        Plaintiff respectfully requests that that this Court order Defendants to produce:

        1.     Any and all documents that mention or relate in any way to the physical restraint

               of any student with a disability who was at the time attending classes at

               Parchment High School from August 1, 1993 to the present.

        2.     Any and all documents that mention or relate in any way to the training of any

               Parchment School District employees in the use of physical restraints or any other

               method of behavior modification from August 1, 1993 to the present.

        3.     Any and all documents related to the training of any Parchment School District

               employees in the use of restraints which has occurred since August 1, 2003.

        4.     Any student directory prepared for Parchment High School for the 2002-2003 or

               2003-2004 school years.

        5.     Any and all documents relating to the consideration of policies, currently adopted

               policies, or policies in place since August 1, 1993 of Parchment School District

               regarding the use of physical restraints on students attending classes at the school.




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      6.     Any agreements between the Parchment School District and the Kalamazoo

             Regional Educational Service Agency (“KRESA”) regarding placement of

             KRESA educational programs at any Parchment School District building.

      7.     Answers in full and in writing to interrogatories served to Defendant Fuller on

             June 20, 2005.



                                  Respectfully Submitted,



                                  /s/ Stacy A. Hickox________
                                  Stacy A. Hickox (P54431)
                                  Michigan Protection & Advocacy Service, Inc.
                                  4095 Legacy Parkway, Suite 500
                                  Lansing, MI 48911
                                  (517) 487-1755
                                  Attorney for Plaintiff

Date: August 5, 2005




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